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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

AT JACKSON
LOUISE GRAVES by and through )
CHUCK GRAVES, )
)
Plaintiff, )
)
V. ) No. 1:22-CV-02296-STA-JAY
) Chief District Judge S. Thomas
Anderson
AUTO-OWNERS INSURANCE ) Magistrate Judge Jon A. York
COMPANY, )
)
Defendant. )

DECLARATION OF UMPIRE OF RECORD

 

MARY JO O’NEAL
1. | am over the age of 18 and of sound mind and have the ability to make
this Declaration.
2. | was the Umpire of Record for the appraisal panel that set the amount of

loss in the above captioned appraisal matter, and hereby state the following:

3. My decision in this appraisal matter was based solely on the differences
submitted to me by the appraisers to legally and properly repair the covered damages.

4. There were no specific coverage issues or disputes from either party that
the panel was made aware of prior to, or during, our deliberations, nor was | aware of
any until Plaintiffs attorney notified me.

5. The panel acted only within the authority granted to it by the appraisal

provision in determining the amount of the loss shown in the award form.
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6. The COVID-19 protocols submitted to me for decision by the appraisers
were removed by agreement of all panel members.

7. | allowed the OSHA authorized safety protocol costs (See Ex. “2”) as they
were properly presented, the cost to certify was incurred for the project (See Ex.”4”),
they were certified to the specific property (See Ex. “1”), and are federally mandated for
all commercial projects and are not subject to exclusions by any authority or contract.

8. | intend for this declaration to clear up any ambiguity about the F9 notation
context in the award estimate appearing on page 15 at line item number .182 under the
section labeled: “OSHA-1 Life Safety” (See Ex. “3”), which states “See Protocol and
Manual Provided. Includes sufficient Covid-19 protocols”. This “F9 notation” was
specifically, and solely, meant to notify the two appraisers of the reason for me striking
the COVID-19 protocols presented by the insured’s appraiser as they were (are) no
longer applicable because the minimum OSHA standards provide sufficient protection
for workers. (See Ex. “1”)

| declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

This 12th day of April, 2023.

 

 

Umpire of Record

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Murfreesboro, TN 37129
P:615.849.6400

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